
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a3621-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a3221-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3611-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3620-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3021-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3628-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3721-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3631-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3681-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3691-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
